









Dismissed and Memorandum Opinion filed August 12, 2004









Dismissed and Memorandum Opinion filed August 12,
2004.

&nbsp;

In The

&nbsp;

Fourteenth Court of Appeals

____________

&nbsp;

NO. 14-03-00787-CV

____________

&nbsp;

KOLL REAL
ESTATE GROUP, INC, Appellant

&nbsp;

V.

&nbsp;

MILLARD
HALLMARK, ET AL., Appellees

&nbsp;



&nbsp;

On Appeal from the
10th District Court

&nbsp;Galveston County, Texas

Trial Court
Cause No.&nbsp; 03CV0064

&nbsp;



&nbsp;

M E M O R A N D U M&nbsp;&nbsp; O P I N I O N

This is an appeal from a judgment signed
June 10, 2003.

On July 22, 2004,&nbsp; appellant filed a motion to dismiss
the appeal.&nbsp; See Tex. R. App. P. 42.1. &nbsp;The motion is granted.

Accordingly, the appeal is ordered dismissed.

PER CURIAM

Judgment rendered and Memorandum
Opinion filed August 12, 2004.

Panel consists of Justices Yates,
Edelman, and Guzman.

&nbsp;





